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Ori S. Blumenfeld (CA 259112)

Law Office of Ori S. Blumenfeld FILE >

405 N. Palm Dr.

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Beverly Hills, CA 90210

 

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oblumenfeldlaw@gmail.com BANKRUPTCY C
@s Ye FRICT OF DEL AWARE

UNITED STATES BANKRUPTCY COURT

DISTRICT OF DELAWARE
Inre BK. No. 20-10036-CSS
Tough Mudder Incorporated
aka Tough Mudder, LLC, Chapter 11
Debtor.

REQUEST FOR SPECIAL NOTICE
IT IS HEREBY REQUESTED that copies of any and all notices and orders sent to any
person or entity in connection with this case, including, without limitation, service of any
proposed disclosure statement and notice of any hearing to consider the adequacy of the
disclosure statement in accordance with 11 U.S.C. §1125 and also including those notices sent
pursuant to Subdivision (a) of Bankruptcy Rule 2002, or succeeding rules, for which Alanic
International Corporation, a California corporation, its assignees and/or successors in interest, is

entitled to service or notice, and that a courtesy copy also be sent to:

Law Office of Ori S. Blumenfeld
405 N. Palm Dr.
#203
Beverly Hills, CA 90210

 
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This does not constitute a general appearance for any purpose and is not a waiver of
any service requirements, under applicable law, including, but not limited to Bankruptcy Rule

7004.

Dated: January 29, 2020 By /s/ ORLS. BLUMENFELD
ORI S. BLUMENFELD, ESQ., CA BAR #259112
As Agent for Claimant
 

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STATE OF CALIFORNIA, COUNTY OF LOS ANGELES axinu? 0) Sian

MYSTAIC

|, Ori S. Blumenfeld, certify that | am a resident of the County aforesaid; | am
over the age of 18 years and not a party to the within action; my business address is
405 N. Palm Dr., #203, Beverly Hills, CA 90210.

On 1/29/2020, | served the within REQUEST FOR SPECIAL NOTICE on all
interested parties in this proceeding by placing true and correct copy thereof enclosed in
a sealed envelope with postage prepaid in the United States Mail at Woodland Hills,
California, addressed as follows:

Tough Mudder Incorporated

15 MetroTech Center Brooklyn, NY 11201
Debtor in Pro Se

U.S. Trustee

Office of the United States Trustee

J. Caleb Boggs Federal Building

844 King Street, Suite 2207

Lockbox 35

Wilmington, DE 19801

| declare that | am employed in the office of a member of the Bar at whose
direction this service was made.

| certify under penalty of perjury that the foregoing is true and correct.
Executed on 1/28/2020, at Beverly Hills, California.

/s/ Ori S. Blumenfeld
